Case 1:19-cr-20674-DPG Document 532 Entered on FLSD Docket 05/03/2022 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 19-20674-CR-GAYLES(s)

  UNITED STATES OF AMERICA

  vs.

  JOSHUA JOLES, et al.

              Defendants.
  _______________________________/

              JOINT MOTION TO EXTEND VOLUNTARY SURRENDER DATE

         The United States hereby moves to extend the voluntary surrender dates of defendants

  Joshua Joles, Mohammad Salemi, Frank Alvarez, Kadir Diaz, Jorge Paiz, Carlos Gonzalez, and

  Leah Solomon. These defendants join in this motion.

         As grounds therefor, the parties assert the following:

         1.      The aforesaid defendants are currently scheduled to surrender to the Bureau of

  Prisons in mid-June, 2022.

         2.      The defendants have been on bond for a very substantial period of time, and none

  of them has violated any conditions of supervised release. All have been in full compliance.

         3.      All of these defendants are expected to be trial witnesses against Stephen Costa,

  who is set for trial beginning September 6, 2021.          Undersigned Government counsel has

  interviewed all of them for that purpose and all have material information that is likely to be

  relevant and probative to the case.

         4.      Necessary trial preparation will require extensive additional meetings between the

  case prosecutor and the defendants, to prepare for trial testimony, review exhibits, and to generally

  organize the presentation of evidence. If the defendants are incarcerated, this trial preparation will
Case 1:19-cr-20674-DPG Document 532 Entered on FLSD Docket 05/03/2022 Page 2 of 2




  be exceedingly time-consuming and difficult to do. Under present conditions, it is difficult for

  attorneys to visit even their own clients in FDC.

         5.      Available interview rooms in the courthouse are often fully booked, and also may

  only be used for FDC inmates, not those at other BOP institutions. Cooperating defendants who

  have been designated to other institutions would necessitate travel by attorneys for both parties for

  pre-trial preparation, and subsequent transport of the inmates to FDC by the Marshals for trial.

         For the forgoing reasons, it is in the interests of all concerned to extend the voluntary

  surrender dates so these witnesses can be readily available for trial preparation and for trial. Due

  to uncertainty as to when trial will actually commence, and its likely duration, a surrender date

  some time after the trial period is requested.

         Wherefor, the United States, joined by defendants Joles, Salemi, Alvarez, Diaz, Paiz, and

  Gonzalez, move for an extension of the defendant’s surrender date, until October 24, 2022.

                                                             Respectfully submitted,

                                                             JUAN ANTONIO GONZALEZ
                                                             UNITED STATES ATTORNEY

                                                   By:       /s/ Frank H. Tamen
                                                             Frank H. Tamen
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 3, 2022, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF.
                                               /s/ Frank H. Tamen
                                              Frank H. Tamen
                                              Assistant United States Attorney


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